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                        IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                               Civil Action No.
         v.                                                    8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                              ORDER

        For the reasons stated in the accompanying memorandum opinion, Class Counsel’s

Emergency Motion to Enforce the Settlement Agreement, ECF 227, and Motions to Proceed Under

Pseudonym, ECF 231, 236, will be GRANTED as follows:


         1. Defendants are hereby ORDERED not to remove from the United States members of

              the certified “Class,” defined in Section II.E of the Settlement Agreement, ECF 199-

              2 at 5, as “all individuals nationwide who prior to [February 24, 2025]: (1) were

              determined to be a[n] [Unaccompanied Alien Child, as defined in 6 U.S.C. §

              279(g)(2)]; and (2) who filed an asylum application that was pending with USCIS;

              and (3) on the date they filed their asylum application with USCIS, were 18 years of

              age or older, or had a parent or legal guardian in the United States who is available to

              provide care and physical custody; and (4) for whom USCIS has not adjudicated the

              individual’s asylum application on the merits.” Once USCIS adjudicates a Class

              Member’s asylum application on its merits, the individual is no longer a Class

              Member and no longer enjoys the protection of the Settlement Agreement.


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        2. Defendants are hereby ORDERED to facilitate Class Member Cristian’s return to the

           United States to await the adjudication of his asylum application on the merits by

           USCIS under the terms of the Settlement Agreement. Facilitation includes, but is not

           limited to, a good faith request by Defendants to the government of El Salvador to

           release Cristian to U.S. custody for transport back to the United States.

        3. Absent further court order, the parties will proceed using pseudonyms as to Class

           Members Cristian and Javier for the pendency of this matter.



Dated: April 23, 2025                                                /s/

                                                    Stephanie A. Gallagher
                                                    United States District Judge




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